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  EXHIBIT 16




                             Exhibit 16 - 001
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                             United States Government Accountability Office
                            Report to Congressional Requesters




                            SOUTHWEST
September 2022




                            BORDER

                            Challenges and
                            Efforts Implementing
                            New Processes for
                            Noncitizen Families




GAO-22-105456
                                     Exhibit 16 - 002
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                                            September 2022

                                            SOUTHWEST BORDER
                                            Challenges and Efforts Implementing New Processes
                                            for Noncitizen Families
Highlights of GAO-22-105456, a report to
congressional requesters




Why GAO Did This Study                      What GAO Found
In fiscal year 2021, Border Patrol          U.S. Border Patrol’s implementation of the Notice to Report (NTR) process
reported about 1.7 million                  created challenges for U.S. Immigration and Customs Enforcement (ICE), which
apprehensions of noncitizens between        the agencies sought to address in developing the parole plus Alternatives to
ports of entry—a 300 percent increase       Detention (ATD) process. In March 2021, Border Patrol initiated the NTR process
over fiscal year 2020. This included        to reduce agents’ administrative processing times by releasing noncitizen family
approximately 451,000 apprehensions         units (parents and children under 18) without Notices to Appear. However,
of family unit members. Compounding         Border Patrol and ICE identified challenges with the NTR process. ICE officials
this increase were continued concerns       stated they were concerned that family units were not reporting to field offices as
related to COVID-19 and physical
                                            required. Further, ICE had difficulty locating some of these individuals due to
distancing protocols that imposed
                                            limited address information. Border Patrol released about 94,000 family unit
space limitations on facilities.
                                            members with an NTR before terminating this process in November 2021.
To address these concerns and reduce
time in custody, Border Patrol and ICE      In July 2021, Border Patrol and ICE initiated a second process whereby agents
initiated two new processes in 2021,        release family units into the U.S. on humanitarian parole and enroll the heads of
referred to as NTR and parole plus          household in ICE’s ATD program (or, parole plus ATD). ATD uses case
ATD. Border Patrol released family          management and electronic monitoring to help ensure noncitizens comply with
units into the U.S. without first issuing   their release conditions, allowing ICE to better track those released without a
them a charging document—generally          Notice to Appear. From July 2021 through February 2022, Border Patrol released
a Notice to Appear—which places             about 91,000 family unit members under parole plus ATD.
them into immigration court removal
                                            ICE has efforts underway to initiate removal proceedings for family units that
proceedings. Instead, Border Patrol
instructed them to report to an ICE field   Border Patrol released with an NTR or under parole plus ATD. As of March 1,
office. ICE officials are to further        2022, about three-quarters of family unit members (nearly 140,000) had reported
process family unit members who             to an ICE field office. To try to locate those who had not reported, ICE undertook
report to field offices, such as issuing    several nationwide enforcement operations between November 2021 and June
them a Notice to Appear.                    2022. ICE officials stated family units that do not report, or that ICE does not
                                            locate, are to be referred for further enforcement action on a case-by-case basis
GAO was asked to review Border              to focus on the greatest threats to homeland security.
Patrol’s and ICE’s implementation of
the NTR and parole plus ATD                 As of March 20, 2022, ICE issued Notices to Appear to about half of all family
processes. This report describes (1)        unit members (about 100,000) processed with an NTR or under parole plus ATD.
Border Patrol and ICE implementation        According to ICE officials, ICE faces resource constraints processing those who
of the NTR and parole plus ATD              report and issuing Notices to Appear. In July 2022, U.S. Customs and Border
processes, and (2) ICE’s efforts to         Protection and ICE issued a new policy under which they will share responsibility
initiate removal proceedings for family     for initiating removal proceedings for those released without Notices to Appear.
unit members processed with NTRs or
under parole plus ATD.                      Noncitizen Family Unit Members Processed with a Notice to Report (March through November
                                            2021) and under Parole plus Alternatives to Detention (July 2021 through February 2022)
GAO analyzed Border Patrol and ICE
policies, guidance, and data on
individuals processed with an NTR or
under parole plus ATD and who
reported to ICE as required. GAO also
interviewed officials in Border Patrol
and ICE headquarters and selected
field locations.
View GAO-22-105456. For more information,
contact Rebecca Gambler at (202) 512-8777
or GamblerR@gao.gov.
                                            Data as of Mar. 18, 2022, for Notices to Report and Mar. 21, 2022, for parole plus Alternatives to
                                            a

                                            Detention.


                                                            Exhibit 16 - 003                  United States Government Accountability Office
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                    Abbreviations

                    ATD                        Alternatives to Detention
                    CBP                        U.S. Customs and Border Protection
                    CDC                        Centers for Disease Control and Prevention
                    DHS                        Department of Homeland Security
                    ERO                        Enforcement and Removal Operations
                    ICE                        U.S. Immigration and Customs Enforcement
                    NTR                        Notice to Report




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                              Letter




441 G St. N.W.
Washington, DC 20548




                              September 28, 2022

                              The Honorable James Lankford
                              Ranking Member
                              Subcommittee on Government Operations and Border Management
                              Committee on Homeland Security and Governmental Affairs
                              United States Senate

                              The Honorable John Cornyn
                              Ranking Member
                              Subcommittee on Immigration, Citizenship, and Border Safety
                              Committee on the Judiciary
                              United States Senate

                              Within the Department of Homeland Security’s (DHS) U.S. Customs and
                              Border Protection (CBP), U.S. Border Patrol is responsible for securing
                              the border between U.S. ports of entry. In fiscal year 2021, Border Patrol
                              reported about 1.7 million apprehensions of noncitizens—a 300 percent
                              increase over fiscal year 2020. 1 This included approximately 451,000
                              apprehensions of noncitizen family unit members (parents and children
                              under 18 years old). 2 Compounding the significant increase in
                              apprehensions at the border were continued concerns during this time
                              related to COVID-19. Physical distancing protocols imposed space and
                              other limitations on facilities and operations and Border Patrol had to
                              balance its critical enforcement mission while also ensuring the health
                              and safety of its personnel and those in its custody. 3

                              To help address the significant increase in apprehensions, in the spring
                              and summer of 2021, Border Patrol initiated two new processes for family

                              1For  the purposes of this report, we use the term “apprehension” to describe Border
                              Patrol’s first interactions with noncitizens between U.S. ports of entry, whether under Title
                              42 or Title 8 of the U.S. Code. We provide additional information on Title 42 and Title 8
                              later in the report.
                              2Federal immigration law does not specifically define the term “family unit.” However, CBP
                              and U.S. Immigration and Customs Enforcement policy and guidance documents
                              generally define a family unit as a noncitizen child under the age of 18 who has no lawful
                              immigration status in the U.S. and is accompanied by a noncitizen parent or legal
                              guardian who is able to provide care and physical custody.
                              3Formore information on CBP’s response to COVID-19, see GAO, Border Security:
                              CBP’s Response to COVID-19, GAO-21-431 (Washington, D.C.: June 14, 2021).




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                    units at the southwest border aimed at reducing the time they remain in
                    custody. 4 Under both processes, Border Patrol agents release family unit
                    members into the country without placing them into removal proceedings
                    before the immigration courts. 5 More specifically, to reduce the time
                    agents need to complete the required release paperwork, agents release
                    such individuals without issuing charging documents, such as a Notice to
                    Appear, which initiate such proceedings. 6

                    First, in March 2021, Border Patrol initiated the Notice to Report (NTR)
                    process, whereby agents released family unit members into the U.S.
                    without first issuing them a Notice to Appear. Agents gave them
                    instructions to report, at a later date, to a U.S. Immigration and Customs
                    Enforcement (ICE) field office to receive a Notice to Appear or other
                    appropriate charging document. 7 Second, in July 2021, Border Patrol
                    initiated a separate but similar process, one in which it released family


                    4Border  Patrol officials stated that they mainly applied these new processes to family
                    units; however, at certain points in time and in certain locations, officials stated that agents
                    may have applied these processes to a relatively small number of single adults such as a
                    married couple in which a spouse had a late-term pregnancy. In addition, Border Patrol
                    began processing noncitizen single adults under the parole plus Alternatives to Detention
                    process on March 20, 2022. For the purpose of this report, we focused on Border Patrol’s
                    application of these processes to family units.
                    5Upon   apprehending noncitizens, Border Patrol generally determines how to process
                    them, including whether to place them into full or expedited immigration removal
                    proceedings. See 8 U.S.C. §§ 1225(b), 1229a; see also 8 C.F.R. § 235.3(b)(4). In full
                    removal proceedings, noncitizens have the opportunity to present evidence to an
                    immigration judge to challenge their removal from the country and apply for various forms
                    of relief or protection, including asylum. See 8 U.S.C. § 1158. In expedited removal
                    proceedings, the government can order noncitizens removed from the U.S. without further
                    hearings before an immigration judge unless they indicate an intention to apply for asylum,
                    a fear of persecution or torture, or a fear of return to their home country. With some
                    exceptions, including unaccompanied children, generally noncitizens present in the U.S.
                    without being admitted or paroled who are encountered by an immigration officer within
                    100 air miles of the border and who have not been physically present in the U.S. for 14
                    days may be placed into expedited removal. See 69 Fed. Reg. 48,877-01 (Aug. 11, 2004).
                    6Full removal proceedings are initiated by the issuance and service of a Notice to Appear.
                    See 8 U.S.C. § 1229; 8 C.F.R. § 239.1. Removal proceedings are commenced by the
                    filing of a Notice to Appear with the immigration court. 8 C.F.R. § 1239.1.
                    7ICE  officials told us that, although Notices to Appear are generally issued, in some cases,
                    they may use other charging documents. For example, there may be situations when a
                    family unit member is found to have a prior removal order. ICE would then reinstate an
                    order of removal instead of issuing a second Notice to Appear. For the purposes of this
                    report, we mainly refer to Notices to Appear, as ICE officials stated these are generally the
                    charging documents served.




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                    unit members into the U.S. on humanitarian parole. 8 ICE also enrolled the
                    families’ heads of household in the Alternatives to Detention (ATD)
                    program as a condition of their release on humanitarian parole, referred
                    to as parole plus ATD. 9 The ATD program uses case management and
                    electronic monitoring to help ensure participants comply with their release
                    conditions, such as requirements to appear at immigration court hearings,
                    and final orders of removal from the U.S.

                    You asked us to review Border Patrol’s and ICE’s implementation of the
                    NTR and parole plus ATD processes. This report describes (1) Border
                    Patrol’s and ICE’s implementation of the NTR and parole plus ATD
                    processes, and (2) ICE’s efforts to initiate removal proceedings for family
                    unit members processed with NTRs or under parole plus ATD.

                    To address both objectives, we interviewed Border Patrol and ICE
                    officials from headquarters and selected field locations to obtain
                    information about the planning, development, implementation, and
                    interagency coordination associated with the NTR and parole plus ATD
                    processes. Regarding Border Patrol, we selected three of its nine
                    southwest border sectors (Del Rio, Texas; Rio Grande Valley, Texas; and
                    Yuma, Arizona). Border Patrol authorized use of NTRs or parole plus
                    ATD in these sectors, which had high numbers of apprehensions of family
                    unit members and experienced a high percentage increase in
                    apprehensions in fiscal year 2021 over the prior year. These three sectors
                    also processed a large number of family unit members with an NTR or
                    under parole plus ATD, according to Border Patrol data and officials. 10
                    Regarding ICE, we selected five field offices located along the southwest
                    8CBP    may grant humanitarian parole to noncitizens on a case-by-case basis for certain
                    reasons, such as significant public benefit or urgent humanitarian reasons. In this context,
                    parole generally refers to permitting an individual to temporarily enter or remain in the U.S.
                    for a limited purpose, such as to allow an individual to receive medical treatment or to
                    apply for asylum. 8 U.S.C. § 1182(d)(5).
                    9ICE,  among other things, is responsible for determining whether to detain noncitizens or
                    to release them into the country while they await their hearings before the immigration
                    courts. Except for certain individuals who are required by law to be detained during
                    removal proceedings, ICE has wide discretion to detain or release individuals awaiting
                    resolution of their proceedings in immigration court. When Border Patrol or ICE release
                    individuals in removal proceedings on a conditional basis into the community, ICE is
                    responsible for monitoring their compliance with the terms of their release. One way ICE
                    monitors released individuals is through the ATD program.
                    10For the purposes of this report, we use the term “processed” to refer to the steps Border
                    Patrol agents take, including interviewing noncitizens and collecting personal information
                    (such as names and countries of nationality), before releasing them into the U.S. with an
                    NTR or under parole plus ATD.




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                    border and within the interior of the U.S.—(1) Harlingen, Texas; (2)
                    Houston, Texas; (3) Miami, Florida; (4) New York, New York; and, (5)
                    Phoenix, Arizona. In particular, the New York and Miami field offices
                    processed a large number of family unit members that reported with an
                    NTR or under parole plus ATD, according to ICE data and officials.

                    To address the first objective, we analyzed Border Patrol and ICE
                    documentation regarding the NTR and parole plus ATD processes, such
                    as policy memos, emails, and guidance. Generally, these documents
                    described the circumstances under which each process was authorized,
                    the timeframes associated with the implementation and termination of the
                    NTR and parole plus ATD processes in certain southwest border sectors,
                    and the steps agents are to follow for each process. We also analyzed
                    documentation that Border Patrol provided to family units that describe
                    instructions for reporting to ICE field offices. In addition, we examined
                    documentation for ICE’s Field Office Appointment Scheduler, a web-
                    based scheduling system that ICE developed for family units that need to
                    make an appointment with ICE. We also examined Border Patrol and ICE
                    efforts to share data on individuals processed with an NTR or under
                    parole plus ATD. Lastly, we analyzed DHS, Border Patrol, and ICE
                    documentation for interagency coordination, including mass migration
                    contingency plans.

                    We also analyzed Border Patrol summary data to determine the number
                    of family unit members and unique family units that Border Patrol
                    processed with an NTR or under parole plus ATD from March 2021
                    through February 2022. 11 Specifically, we analyzed data on Border
                    Patrol’s use of NTRs over this time period by month, by Border Patrol
                    sector, and by country of citizenship. In addition, we analyzed summary
                    data on the completeness of the intended destination address Border

                    11DHS’s Enforcement Integrated Database maintains information about noncitizens
                    apprehended by Border Patrol from arrest to release. For example, the database tracks if
                    the individual is part of a family unit and conditions of their release—such as ATD. Border
                    Patrol used a unique combination of data fields and values from this database to generate
                    the summary NTR and parole plus ATD data provided to us. According to Border Patrol
                    officials, the NTR summary data may include some individuals who were released under
                    prosecutorial discretion and were not issued an NTR. However, the number of these
                    individuals would be very small, according to officials. The NTR summary data were
                    current as of March 18, 2022. According to Border Patrol officials, the summary parole
                    plus ATD data may include some individuals whom Border Patrol paroled into the U.S. for
                    humanitarian reasons and did not place into ATD. However, because Border Patrol limited
                    the summary data to family unit members, the number of individuals paroled for
                    humanitarian reasons should be very small, according to officials. The summary parole
                    plus ATD data were current as of March 21, 2022.




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                    Patrol collected in its data system and the intended destination state that
                    family unit members provided agents. To assess the reliability of these
                    data, we reviewed them for reasonableness, accuracy, and consistency.
                    We interviewed Border Patrol headquarters officials responsible for
                    overseeing data collection to understand processes for collecting and
                    maintaining these data. We also discussed data collection procedures
                    with agents in the three selected sectors. We determined that these data
                    were sufficiently reliable to describe the numbers, destination addresses,
                    and citizenship of family unit members processed with NTRs or under
                    parole plus ATD.

                    To address the second objective, we analyzed ICE email directives,
                    reference guides, and other guidance to Enforcement and Removal
                    Operations (ERO) officers regarding how to process family units reporting
                    to an ERO field office. In addition, we examined ICE documentation
                    related to enrolling family units into parole plus ATD such as forms
                    officers are to use or provide upon release. We also examined strategy
                    documents and guidance for a multiphase ICE enforcement operation
                    aimed at identifying and locating family units processed with an NTR or
                    under parole plus ATD and placing them into removal proceedings.

                    In addition, we analyzed summary ICE data on family unit members and
                    unique family units that Border Patrol processed with an NTR or under
                    parole plus ATD from March 2021 through February 2022. 12 We analyzed
                    these summary data to determine how many family unit members had
                    reported and not reported to ICE by individual ERO field offices. 13 In
                    addition, we analyzed summary ICE data on the number of Notices to
                    Appear issued by individual field offices. 14 We also analyzed summary
                    data on the number of appointments that ICE had scheduled for unique




                    12DHS’s   Enforcement Integrated Database maintains information about noncitizens’
                    processing—such as issuance of a Notice to Appear. ICE used a unique combination of
                    data fields and values from this database to generate summary data provided to us on the
                    extent to which family units processed with an NTR or under parole plus ATD had
                    reported to an ICE field office and whether ICE had issued them a Notice to Appear.
                    13ICE’s  summary data on the number of family unit members who reported to an ICE field
                    office are as of March 1, 2022.
                    14ICE’s summary data on the number of family unit members issued a Notice to Appear
                    and placed into removal proceedings are as of March 20, 2022.




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                             family units to report to a field office for processing from July 2021
                             through August 2024 by month and by field office. 15

                             To assess the reliability of these data, we reviewed them for
                             reasonableness, accuracy, and consistency. We also interviewed ICE
                             officials at headquarters and in the field to understand processes for
                             collecting and maintaining these data. Specifically, we interviewed ERO
                             officials responsible for overseeing data collection, as well as officials in
                             the five selected ERO field offices. We determined that these summary
                             data were sufficiently reliable to describe the numbers of family unit
                             members that had reported or not reported to ICE, been issued a Notice
                             to Appear by ICE, or scheduled an appointment with ICE for further
                             processing.

                             We conducted this performance audit from October 2021 to September
                             2022 in accordance with generally accepted government auditing
                             standards. Those standards require that we plan and perform the audit to
                             obtain sufficient, appropriate evidence to provide a reasonable basis for
                             our findings and conclusions based on our audit objectives. We believe
                             that the evidence obtained provides a reasonable basis for our findings
                             and conclusions based on our audit objectives.


Background
Border Patrol and ICE        Border Patrol. Along the southwest border, Border Patrol divides
Roles and Responsibilities   responsibility for border security operations geographically among nine
                             sectors, which include border stations and centralized processing
for Processing Family        centers. 16 After Border Patrol agents apprehend noncitizens, they are to
Units                        interview each individual, using interpreters if needed, and collect
                             personal information such as their names, countries of nationality, and
                             age. They also collect biometric information, such as photographs and




                             15ICE’ssummary data on the number of scheduled appointments are from its Field Office
                             Appointment Scheduler and are as of March 21, 2022.
                             16The nine sectors are San Diego, El Centro, Yuma, Tucson, El Paso, Del Rio, Big Bend,
                             Laredo, and Rio Grande Valley.




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                    fingerprints, from certain individuals. 17 Border Patrol agents use
                    fingerprints to run records checks against federal government databases
                    to determine if noncitizens have any previous immigration or criminal
                    history. According to Border Patrol officials, agents decide on a case-by-
                    case basis how to process individuals and family units consistent with the
                    Immigration and Nationality Act and other authorities. 18

                    As of June 2022, Border Patrol agents process noncitizens, including
                    family units, under two broad authorities referred to as Title 42 and Title
                    8. 19 In March 2020, the Centers for Disease Control and Prevention
                    (CDC) issued an order, under Title 42 of the U.S. Code, which allows the
                    government to suspend the introduction of individuals from foreign
                    countries to prevent the spread of communicable diseases. 20 Under the
                    order, the CDC temporarily suspended the introduction of certain
                    individuals who would be detained in congregate settings to prevent the
                    spread of COVID-19. Instead, these individuals are to be immediately
                    expelled to their country of last transit or country of origin. 21 Title 42 is not

                    17See 8 C.F.R. § 236.5. CBP does not typically collect fingerprints for children under the
                    age of 14. However, on a case by case basis, CBP may fingerprint children under age 14
                    in certain instances, such as when they suspect the child may be the victim of trafficking
                    or involved in smuggling. For more information on CBP processes for apprehended family
                    units, see GAO, Southwest Border: Actions Needed to Improve DHS Processing of
                    Families and Coordination between DHS and HHS, GAO-20-245 (Washington, D.C.: Feb.
                    19, 2020).
                    18See,   e.g., 8 U.S.C. §§ 1225(b), 1229a; 42 U.S.C. § 265; 42 C.F.R. § 71.40.
                    19According to Border Patrol, this includes noncitizens who do not have proper travel
                    documents, noncitizens whose entry is otherwise contrary to law, and noncitizens who are
                    apprehended at or near the border seeking to unlawfully enter the U.S. between the ports
                    of entry.
                    20See 85 Fed. Reg. 16,559 (Mar. 24, 2020). This order has been extended, amended and
                    reissued. See, e.g., 86 Fed. Reg. 42,828 (Aug. 5, 2021). The termination of this order is
                    the subject of ongoing litigation, but remains in place as of September 2022. See
                    Louisiana v. Ctrs. For Disease Control & Prevention, No. 22-CV-00885 (W.D. La. May 20,
                    2022 preliminary injunction). In assisting CDC with implementing the CDC Order under
                    Title 42, CBP is operating pursuant to 42 U.S.C. § 268(b), aiding the CDC in the
                    enforcement of its authority pursuant to 42 U.S.C. § 265, 42 C.F.R. § 71.40. This Order is
                    referred to as “Title 42” because it directs the processing of certain noncitizens under the
                    title of the U.S. Code that pertains to public health (Title 42), as opposed to the title of the
                    U.S. Code that pertains to immigration and nationality (Title 8).
                    21In April 2022, the CDC announced that it would terminate its Title 42 order on May 23,
                    2022. However, this termination was enjoined by a federal court as of May 20, 2022,
                    thereby leaving Title 42 in place. See Louisiana v. Ctrs. for Disease Control & Prevention,
                    No. 22-CV-00885 (W.D. La. May 20, 2022 preliminary injunction). Litigation related to Title
                    42 was ongoing as of September 2022.




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                    applicable to individuals whom agents determine, with approval from a
                    supervisor, should be excepted based on factors such as public safety,
                    humanitarian, and public health interests. 22

                    In particular, since March 2020, Border Patrol has expelled certain
                    apprehended family unit members under Title 42. For example, in March
                    2021, DHS reported that Mexican, Guatemalan, Honduran, and El
                    Salvadoran family units would be expelled to Mexico unless Mexico did
                    not have the capacity to receive them. 23 At that time, families from
                    countries other than these countries were expelled by plane to their
                    countries of origin, as appropriate. In addition to Mexico’s capacity to
                    receive expelled individuals from the U.S., Border Patrol faced difficulties
                    expelling individuals from certain countries under Title 42 due to various
                    factors. For example, flights to a noncitizen’s country of origin may not be
                    available. In addition, Border Patrol officials stated that they may not
                    expel noncitizens to countries with whom the U.S. lacks diplomatic
                    relations—such as Cuba or Venezuela. Furthermore, some countries
                    have placed limits on accepting individuals expelled from the U.S. For
                    example, Border Patrol officials stated that, as of July 8, 2022, Honduras
                    authorized nine flights a week and limited each to 135 passengers. In
                    addition, as of that date, Peru authorized two flights per week and limited
                    each to 100 passengers.

                    If noncitizens are not subject to or are otherwise excepted from Title 42,
                    Border Patrol may process them under Title 8, which governs immigration
                    and nationality. Under Title 8, Border Patrol has the authority to
                    apprehend individuals crossing the border unlawfully, hold apprehended
                    individuals for general processing prior to transferring them to the
                    appropriate agency for continued custody or release, and place
                    noncitizens into full or expedited removal proceedings, among other
                    authorities. 24 Also pursuant to Title 8, Border Patrol can release
                    noncitizens into the country on humanitarian parole, which can be
                    affirmatively granted on a case-by-case basis for significant public benefit
                    22The Title 42 Orders do not apply to U.S. citizens or legal residents, but to those who
                    would be otherwise be introduced into a congregate setting in a port of entry or U.S.
                    Border Patrol station at or near the U.S. land and adjacent coastal borders.
                    23See:
                    https://www.dhs.gov/news/2021/03/16/statement-homeland-security-secretary-alejandro-n
                    -mayorkas-regarding-situation. CBP officials noted that the countries to which individuals
                    may be expelled are subject to change and may vary over time.
                    24See    generally 8 U.S.C. §§ 1225, 1229.




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                    or urgent humanitarian reasons. 25 According to DHS, once the CDC order
                    under Title 42 is no longer in place, Border Patrol plans to process all
                    individuals apprehended at the border pursuant to Title 8. 26

                    ICE. ICE is responsible for detaining and removing noncitizens, including
                    family unit members, who are in the U.S. in violation of immigration law
                    and subject to removal, among other things. In particular, ICE’s ERO
                    enforces the nation’s immigration laws by detaining apprehended
                    noncitizens when legally required or appropriate during their immigration
                    proceedings and upon completion of those proceedings. 27 In doing so, it
                    ensures that those who receive a final order of removal leave the U.S.
                    ICE determines whether to detain individuals in its custody, on a
                    discretionary or mandatory basis, or release them to the community while
                    their removal proceedings are ongoing, subject to certain criteria. 28 ICE is
                    also responsible for supervising individuals, including family unit
                    members, who are released to the community under the ATD program or
                    other release conditions. 29 The ATD program uses technologies, such as
                    telephonic reporting, smartphone application (SmartLINK), or GPS ankle
                    monitors, to monitor those whom ERO is not detaining. ERO performs
                    these functions from 25 field offices throughout the country. 30


                    258 U.S.C. § 1182(d)(5). Parole allows an individual who may be inadmissible or otherwise
                    ineligible for admission to be temporarily present in the U.S. An individual granted parole
                    has not been formally admitted to the country for purposes of immigration law.
                    26Department of Homeland Security, Statement by Secretary Mayorkas on CDC’s Title 42
                    Order Termination (Washington D.C.: Apr. 1, 2022).
                    27DHS  has broad statutory discretion (subject to certain legal standards) to detain foreign
                    nationals, depending on the circumstances and statutory basis for detention. For example,
                    the law requires DHS to detain particular categories of foreign nationals, such as those
                    deemed inadmissible for certain criminal convictions or terrorist activity. See 8 U.S.C. §§
                    1225, 1226, 1226a, 1231; 8 C.F.R. § 236.1
                    28DHS has broad statutory discretion (subject to certain legal standards) to detain, or
                    release foreign nationals on bond, conditional parole, terms of supervision, or other
                    conditions, depending on the circumstances and statutory basis for detention. The law
                    requires DHS to detain particular categories of foreign nationals, such as those deemed
                    inadmissible for certain criminal convictions or terrorist activity. See 8 U.S.C. §§ 1225,
                    1226, 1226a, 1231; 8 C.F.R. § 236.1.
                    29ERO field officials are to determine the level of supervision and technology assigned to
                    an individual based on several factors, such as individuals’ immigration status, criminal
                    history, and whether they have been complying with program requirements, if already
                    enrolled.
                    30Each of ERO’s field offices oversees sub-offices located in its geographic area of
                    responsibility, which may include all or part of a state or several states (see appendix I).




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NTR and Parole plus ATD                 For certain family unit members not expelled under Title 42 or placed into
Processes                               full or expedited removal proceedings under Title 8, Border Patrol initiated
                                        its Notice to Report process in the Rio Grande Valley sector in March
                                        2021 and Del Rio sector in May 2021. In late July and early August 2021,
                                        Border Patrol initiated its parole plus ATD process in these sectors.
                                        Figure 1 depicts the timeline of Border Patrol’s implementation of the NTR
                                        and parole plus ATD processes in 2021.

Figure 1: Timeline of Border Patrol’s Implementation of the NTR and Parole plus ATD Processes in 2021




                                        Notes: U.S. Customs and Border Protection (CBP) may grant humanitarian parole to noncitizens on a
                                        case-by-case basis for certain reasons, such as significant public benefit or urgent humanitarian
                                        reasons. In this context, parole generally refers to permitting an individual to temporarily enter or
                                        remain in the U.S. for a limited purpose, such as to allow an individual to receive medical treatment or
                                        to apply for asylum. 8 U.S.C. § 1182(d)(5).
                                        In the November 2, 2021 memorandum terminating the use of NTRs, the Chief of the Border Patrol
                                        stated that agents in the Del Rio and Rio Grande Valley sectors may authorize the processing of
                                        family units under parole plus ATD on a case-by-case basis under certain conditions. According to
                                        the memorandum, outside of the Del Rio and Rio Grande Valley sectors, any sector seeking to utilize
                                        parole plus ATD must obtain approval from the Chief of the Border Patrol and the Commissioner of
                                        CBP. As of July 2022, Border Patrol continues to authorize sectors to enroll family units as well as
                                        individuals in parole plus ATD.


                                        Notice to Report. Border Patrol authorized the NTR process in the Rio
                                        Grande Valley sector on March 20, 2021, and expanded the process to
                                        the Del Rio sector on May 30, 2021. According to Border Patrol’s



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                    guidance, this authorization was contingent on the sectors having met
                    one or more conditions such as:

                    •   the sector reached 100 percent of total detention capacity;
                    •   the sector reached 75 percent total detention capacity and the number
                        of apprehended individuals arriving in custody exceeded the
                        discharge of individuals out of custody over a 24 hour period;
                    •   the average time-in-custody of unprocessed individuals exceeded 24
                        hours and the number of apprehended individuals arriving in custody
                        was projected to exceed the discharge of those out of custody over
                        the next 24-hour period; or
                    •   in coordination with Border Patrol headquarters, the sector
                        determined the circumstances dictated the need to exercise
                        prosecutorial discretion to maintain national security or safeguard
                        human life.

                    Similar to its standard approach, Border Patrol agents were to interview
                    family unit members to collect personal information (such as their names,
                    countries of nationality, and age) and biometric information (such as
                    photographs and fingerprints). Border Patrol agents also used fingerprints
                    to run record checks against federal government databases to determine
                    if they had any previous immigration or criminal history. Border Patrol
                    agents then released the family unit members without formally charging
                    them with a violation of U.S. immigration law or issuing them a Notice to
                    Appear. Instead, agents instructed them to report to an ERO field office
                    after release from Border Patrol custody for further processing, including
                    for a Notice to Appear, as appropriate. 31 On November 2, 2021, the Chief
                    of the Border Patrol issued a memorandum ceasing the use of NTRs.

                    Parole plus ATD. Beginning in July 2021, Border Patrol authorized the
                    parole plus ATD process in the Rio Grande Valley sector and expanded
                    the process to other sectors in Texas and Arizona in August and
                    September 2021. Similar to the NTR process, Border Patrol agents are to
                    collect personal and biometric information and determine if family unit
                    members have any previous immigration or criminal history, among other
                    things. Then, under the Secretary of Homeland Security’s humanitarian
                    parole authority, Border Patrol is to release the family unit members into
                    the country without issuing them charging documents, such as Notices to
                    31Border Patrol instructed individuals issued an NTR to report to an ERO field office within
                    60 days.




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                    Appear. 32 As with NTRs, agents instruct them to report to an ERO field
                    office to receive a Notice to Appear. 33 However, as a condition of their
                    presence in the U.S. under parole, Border Patrol agents are to assign the
                    head of household an A-number and ERO officials located on-site in
                    Border Patrol facilities enroll the head of household in ATD. 34

                    Similar to NTRs, in July 2021, Border Patrol established triggers for when
                    sectors could use the parole plus ATD process. Those triggers included

                    •   when a sector reaches 75 percent total detention capacity and the
                        number of apprehended individuals arriving in custody exceeds the
                        discharge of those out of custody over a 24-hour period; or
                    •   when the average time-in-custody of unprocessed individuals exceeds
                        48 hours and the number of subjects arriving in custody is projected to
                        exceed the discharge of persons out of custody over the next 24-hour
                        period.

                    In Border Patrol’s November 2021 memorandum terminating the use of
                    NTRs, the Chief of the Border Patrol stated that Chief Patrol Agents in
                    Del Rio and Rio Grande Valley sectors may authorize the processing of
                    family units under parole plus ATD on a case-by-case basis under certain
                    conditions, which varied slightly from those Border Patrol initially
                    developed. First, the sector must utilize all available temporary staffing
                    such as support from agents from other sectors and contractors. Second,
                    the 7-day average of apprehensions must be greater than the sectors’
                    daily average in May 2019. 35 Third, one or both of the following must exist

                    •   the average time in custody in the sector exceeds 72 hours and the
                        individuals who were taken into custody in the sector during the

                    32See 8 U.S.C. § 1182(d)(5). Humanitarian parole allows an individual who may be
                    inadmissible or otherwise ineligible for admission to be temporarily present in the U.S., but
                    the individual is not considered formally admitted into the U.S.
                    33In July 2021, Border Patrol instructed individuals processed under parole plus ATD to
                    report to an ICE field office within 60 days of release. On August 12, 2021, Border Patrol
                    reduced the reporting period to 15 days post-release. Subsequently, as of April 4, 2022,
                    Border Patrol revised the report period again to 60 days post-release.
                    34An   A-number is a unique number assigned to a noncitizen’s administrative file by DHS
                    for tracking purposes.
                    35According to the memorandum, in May 2019, the average daily rate was 1,607
                    apprehensions for Rio Grande Valley and 276 for Del Rio.




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                        preceding 48 hours exceeds the number of individuals released in the
                        same period, and/or
                    •   the sector exceeds 100 percent of the total non-COVID detention
                        capacity and the number of individuals who were taken into custody in
                        the sector during the preceding 48 hours exceeds the number of
                        individuals released in the same period. 36

                    According to the memorandum, Border Patrol headquarters is to reassess
                    conditions in Del Rio and Rio Grande Valley on a daily basis.
                    Furthermore, outside of the Del Rio and Rio Grande Valley sectors, any
                    sector seeking to utilize parole plus ATD must obtain approval from the
                    Chief of the Border Patrol and the CBP Commissioner. 37




                    36Border Patrol officials stated that “non-COVID detention capacity” is defined as 100
                    percent of its capacity in non-COVID-restricted circumstances. For example, Border Patrol
                    officials noted that during the pandemic, Border Patrol sectors lost about 75 percent of
                    holding capacity in hard structures and about 50 percent of holding capacity in soft-sided
                    buildings due to physical distancing procedures in such facilities.
                    37On  July 18 2022, CBP and ICE issued a memorandum on the use of parole plus ATD to
                    update the triggers, among other things. First, CBP must apprehend more than 6,000
                    noncitizens per day across the southwest border over a 72-hour period. Second, one or
                    both of the following conditions must also exist (a) there are more than 15,000 noncitizens
                    in Border Patrol custody across all southwest border sectors, and/or (b) a sector or
                    centralized processing center’s in-custody total exceeds 100 percent of its full capacity.
                    Similar to the November 2021 memorandum, as of July 2022, Border Patrol Sector Chiefs
                    must request approval to use parole plus ATD from the Commissioner of CBP, through
                    the Border Patrol Chief.




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Border Patrol’s
Implementation of
NTR Process Created
Challenges, Which it
Sought to Address in
Developing the
Parole plus ATD
Process with ICE
Border Patrol              Border Patrol developed and implemented the NTR and parole plus ATD
Implemented NTR and        processes in 2021 as an exercise of prosecutorial discretion.
                           Prosecutorial discretion is the longstanding authority of an agency to
Parole plus ATD
                           decide where to focus its resources and how to enforce the law against
Processes as Exercise of   an individual. We have previously reported that, due to limited resources,
Prosecutorial Discretion   DHS cannot respond to all immigration violations or remove all individuals
                           who are determined to be in the U.S. without lawful immigration status. 38
                           Therefore, DHS has exercised prosecutorial discretion in the enforcement
                           of the law.

                           Current and prior administrations have exercised prosecutorial discretion
                           and developed various priorities for the enforcement of civil immigration
                           laws. According to Border Patrol guidance, Border Patrol agents are
                           authorized to exercise prosecutorial discretion authority in certain
                           circumstances and release noncitizens without placing them in removal
                           proceedings. The intention of this authority and the associated
                           procedures are to mitigate operational challenges, including risks to
                           national security, during significant surges in migration, according to
                           Border Patrol documentation.

                           Due to the increases in apprehensions and decreased capacity level in
                           facilities, senior Border Patrol officials stated they sought to expedite
                           processing for those in custody and decrease overall time in custody. In
                           particular, for an individual to be issued a Notice to Appear and placed
                           into full removal proceedings, Border Patrol headquarters and sector

                           38See GAO, Immigration Enforcement: Arrests, Detentions, and Removals, and Issues
                           Related to Selected Populations, GAO-20-36 (Washington, D.C.: Dec. 5, 2019), and
                           Immigration: Information on Deferred Action for Childhood Arrivals, GAO-22-104734
                           (Washington, D.C.: Jan. 12, 2022).




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                           officials told us that an agent typically needs approximately 2 to 2.5 hours
                           to complete the necessary paperwork. In contrast, officials estimated that
                           an agent would usually need 30 minutes to process an individual with an
                           NTR or parole plus ATD and release them from custody. Further, officials
                           stated that, due to COVID-19 protocols, Border Patrol only had the
                           capability to hold about 5,000 individuals at any given time across all of its
                           facilities along the southwest border. Officials stated that Border Patrol
                           had the capability to hold about 15,000 individuals prior to COVID-19
                           restrictions.

                           Border Patrol guidance directed agents to only process family units with
                           NTRs or under parole plus ATD when processing options under Title 42
                           and Title 8 were unavailable or not applicable, or if CBP decided to
                           exempt an individual from Title 42 on a case-by-case basis. 39 In
                           particular, the guidance noted that upon apprehension, agents should
                           determine whether ERO will accept custody of the individuals. If ERO
                           declined to take custody, Border Patrol’s guidance stated that agents may
                           use discretion, on a case-by-case basis, to release individuals under
                           prosecutorial discretion through one of these two new processes.

Border Patrol Developed    Senior Border Patrol headquarters officials stated that they developed
and Implemented the NTR    and implemented the NTR process over the course of a few days in
                           March 2021, which resulted in various challenges for ICE. In seeking to
Process Quickly, and
                           address concerns with crowded facilities and increasing time in custody in
Challenges Resulted        the Rio Grande Valley sector, officials stated they developed guidance
                           and procedures for the NTR process with little advance planning or
                           outreach to Border Patrol sectors or ERO field offices. 40 Border Patrol
                           officials in the Rio Grande Valley sector told us they did not participate in
                           any planning for the new NTR process, and also did not receive advance
                           notice from headquarters before they were instructed to implement the
                           NTR process. Specifically, officials in the Rio Grande Valley sector stated
                           that they received guidance from headquarters on March 20, 2021, and

                           39According to Border Patrol guidance, under no circumstances should a noncitizen who
                           claims to be, is suspected to be, or is determined to be an unaccompanied child as
                           defined by 6 U.S.C. § 279(g)(2), be processed for release with an NTR or under parole
                           plus ATD. Further, the guidance noted that Border Patrol agents were to consider whether
                           the noncitizen poses a threat to national security, border security, or a heightened public
                           safety risk if released under either process.
                           40CBP data indicate that Border Patrol experienced almost 500,000 apprehensions in that
                           sector in fiscal year 2021—a 500 percent increase from the previous fiscal year. See
                           https://www.cbp.gov/newsroom/stats/southwest-land-border-encounters.




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                    began implementing the process the next day. Similarly, senior ERO
                    headquarters officials told us that Border Patrol did not consult with ERO
                    in developing the NTR process, and also did not provide advanced notice
                    before implementation of the NTR process. Senior Border Patrol
                    headquarters officials stated that they did not consult with Border Patrol
                    sectors or ERO headquarters or field office officials in advance because
                    of the limited time they had to develop and implement the process.

                    From March 2021 through September 2021, Border Patrol processed
                    about 93,900 family unit members with an NTR. 41 As figure 2 illustrates,
                    Border Patrol issued the majority (about 82 percent) of NTRs to family
                    unit members in the Rio Grande Valley sector, and the remaining portion
                    (about 18 percent) in the Del Rio sector. Approximately 70 percent of
                    family unit members processed with an NTR were nationals of Honduras,
                    Guatemala, and El Salvador (see appendix I for more information). 42




                    41Border   Patrol data indicate this comprised about 36,500 unique family units.
                    42The majority of the remaining 30 percent of family unit members processed with an NTR
                    were nationals of Ecuador, Nicaragua, Haiti, Venezuela, Chile, Cuba, and Brazil.




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                    Figure 2: Number of Noncitizen Family Unit Members Whom Border Patrol
                    Processed with a NTR, by Sector and Month (March through September 2021)




                    Notes: Data are as of March 18, 2022.
                    U.S. Customs and Border Protection and U.S. Immigration and Customs Enforcement policy and
                    guidance documents generally define a family unit as a noncitizen child under the age of 18 who has
                    no lawful immigration status in the U.S. and is accompanied by a noncitizen parent or legal guardian
                    who is able to provide care and physical custody.
                    Although Border Patrol terminated the NTR process on November 2, 2021, Border Patrol data
                    indicate that agents did not process any family unit members with a NTR in October or November
                    2021.


                    Senior ERO officials stated that its field offices faced significant
                    challenges processing family units reporting with NTRs. These officials
                    stated that, if Border Patrol had given them the opportunity to provide
                    input during the development of the NTR process, they would have
                    recommended changes prior to its implementation. Border Patrol
                    headquarters officials told us they recognized that challenges resulted
                    from their limited advance planning and consultation with ICE. For
                    example, within the first few months of implementing the NTR process,
                    Border Patrol and ERO officials told us they became concerned that only
                    a small proportion of family units released with NTRs were reporting to



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                    field offices, as required. When issuing an NTR, Border Patrol agents
                    instructed family unit members to report to a field office near their
                    intended destination address. Border Patrol agents in the Rio Grande
                    Valley and Del Rio sectors provided a list of field offices to each family
                    unit processed with an NTR. However, ERO officials noted that family unit
                    members were not required to report to a specific field office and, as a
                    result, it was difficult for ERO to track where family units would report.

                    Furthermore, senior ERO headquarters officials stated they became
                    concerned that Border Patrol had not obtained complete and valid
                    destination addresses for many family units processed with an NTR.
                    According to these officials, collecting accurate information about a family
                    unit’s intended destination address is critical to ERO’s ability to contact
                    the individuals and further process their removal case. According to
                    Border Patrol’s guidance to the Rio Grande Valley sector establishing the
                    NTR process in late March 2021, agents were to use due diligence to
                    obtain an onward destination address, to the extent the individuals know
                    and can provide one. The March 2021 guidance also instructed agents to
                    record the address in Border Patrol’s system of record. 43 Border Patrol
                    reiterated similar guidance to the Del Rio sector on May 30, 2021.

                    However, ERO headquarters told us that the addresses Border Patrol
                    agents initially collected in the Rio Grande Valley sector were often
                    incomplete or invalid. 44 For example, officials stated that Border Patrol
                    sometimes recorded the onward destination state but not a street or city.
                    These officials also stated that the addresses were sometimes associated
                    with an apartment building, but the apartment number was not included.
                    Or, they stated agents may have misspelled the address in the data
                    system or listed an ERO field office as the family unit’s destination

                    43Border Patrol uses an information system known as e3 to collect and maintain
                    biographic, encounter, and biometric data of individuals encountered by Border Patrol.
                    Within e3, agents can validate an address through an automated U.S. Postal Service
                    feature as an agent enters the address into the “U.S. (Domestic) Address” field. However,
                    agents can also enter an address in e3 without using the automated validation feature.
                    Additionally, the address is considered valid, generally, as long as it is a valid mailing
                    address—the U.S. Postal Service feature is not designed to determine if the address is
                    residential or commercial, for example.
                    44ERO officials told us that issues with complete and accurate destination addresses is
                    not unique to those released with an NTR or under parole plus ATD. Border Patrol and
                    ERO officials noted several reasons why individuals may be unable or unwilling to provide
                    complete destination address information, including that they may not have a specific
                    onward address to provide at the time of release.




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                    address. From March 2021 through June 2021, Border Patrol data
                    indicate that the average monthly percentage of complete destination
                    addresses for family unit members issued NTRs by the Rio Grande Valley
                    sector was about 40 percent (see fig. 3). 45

                    Figure 3: Percentage of Noncitizen Family Unit Members Whom Border Patrol
                    Processed with a NTR and Collected a Complete Intended Destination Address, by
                    Sector and Month (March through September 2021)




                    Notes: Data are as of March 18, 2022.
                    U.S. Customs and Border Protection and U.S. Immigration and Customs Enforcement policy and
                    guidance documents generally define a family unit as a noncitizen child under the age of 18 who has
                    no lawful immigration status in the U.S. and is accompanied by a noncitizen parent or legal guardian
                    who is able to provide care and physical custody.
                    According to Border Patrol officials, to be considered a complete address, the address must be a
                    valid mailing address. Specifically, the address must have a street, city, and state listed. An address
                    does not have to be residential to be considered complete.




                    45Five   U.S. states—Florida, Texas, New York, California, and New Jersey—represent the
                    initial intended destinations of 41 percent of the noncitizens whom Border Patrol
                    processed with an NTR, according to Border Patrol data (see appendix I for more
                    information).




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                           ERO headquarters and Border Patrol officials stated that, upon receiving
                           ERO’s feedback, Border Patrol took steps to emphasize to its agents the
                           importance of collecting complete address information. 46 On June 4,
                           2021, Border Patrol sent guidance to the Del Rio and Rio Grande Valley
                           sectors emphasizing and reiterating the requirement that agents populate
                           the domestic U.S. address tab in Border Patrol’s system. If the destination
                           address was unknown, Border Patrol agents were to at least fill out the
                           field labeled “State” when processing individuals with an NTR. Border
                           Patrol also instructed family unit members to notify ICE of any change of
                           address. As shown above in figure 3, Border Patrol data for the Rio
                           Grande Valley sector indicate that the percentage of complete destination
                           addresses increased from about 40 percent from March to June 2021, to
                           more than 90 percent in July 2021.

Border Patrol and ICE      Senior Border Patrol and ERO headquarters officials stated that in July
Took Steps to Address      and August 2021 they developed and implemented the parole plus ATD
                           process to address the challenges encountered with the NTR process.
Challenges with NTRs in
                           According to these officials, developing the parole plus ATD process
Developing and             necessitated a concerted effort and consultation between Border Patrol
Implementing the Parole    and ERO. Officials stated their goals were to employ additional
plus ATD Process           mechanisms to track and monitor family unit members whom Border
                           Patrol processed without Notices to Appear and increase the likelihood
                           that such family units would report to an ERO field office.

                           In particular, Border Patrol and ERO determined that Border Patrol
                           agents are to provide the head of household for each family unit an A-
                           number. 47 By giving the head of household an A-number, Border Patrol
                           officials stated they can more easily share information with ERO on those
                           who are required to report to ERO field offices. In addition, ICE requires
                           an A-number to enroll individuals in the ATD program. To implement
                           parole plus ATD process in the summer of 2021, ERO placed officers in
                           Border Patrol facilities along the southwest border to enroll heads of
                           households for family units whom Border Patrol released on parole,
                           according to Border Patrol and ICE officials. ICE’s contractor is then
                           responsible for monitoring those enrolled in ATD to ensure they meet the


                           46According to Border Patrol officials, to be considered a complete address, the address
                           must be a valid mailing address. Specifically, the address must have a street, city, and
                           state listed. An address does not have to be residential to be considered complete.
                           47An   A-number is a unique number assigned to a noncitizen’s administrative file by DHS
                           for tracking purposes.




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                    terms of the program. 48 These include requirements to keep monitoring
                    devices charged, physically checking-in with the contractor at one of its
                    sites, or being subject to virtual case management through the monitoring
                    devices.

                    During the 8-month period from July 2021 through February 2022, Border
                    Patrol processed about 91,000 family unit members with parole plus
                    ATD. 49 As figure 4 illustrates, the monthly volume of those processed
                    under parole plus ATD varied during this period, ranging from a high of
                    about 22,000 in September 2021 to a low of about 6,000 in November
                    2021. The majority of family unit members processed with parole plus
                    ATD during this period were in three Border Patrol sectors—Del Rio (44
                    percent), Rio Grande Valley (29 percent), and Yuma (24 percent).




                    48In March 2020, ICE awarded a contract with a total value of $2.2 billion to BI
                    Incorporated to help implement the ATD program. BI Incorporated is the full name of the
                    company and is not an abbreviation. There are five types of ATD sites, which vary with
                    respect to the scope of services the contractor provides and other factors. See GAO,
                    Alternatives to Detention: ICE Needs to Better Assess Program Performance and Improve
                    Contract Oversight, GAO-22-104529 (Washington D.C.: June 22, 2022).
                    49Border    Patrol data indicate this comprised about 32,300 unique family units (see
                    appendix I for more information on the number of heads of household processed under
                    parole plus ATD). According to Border Patrol officials, Border Patrol data include all family
                    unit members released under humanitarian parole during this time period. This may
                    include family unit members not processed under parole plus ATD who were granted
                    parole for a limited purpose such as to allow a member of the family unit to receive
                    medical treatment at a local hospital. 8 U.S.C. § 1182(d)(5). According to Border Patrol
                    officials, such situations would be rare. As a result, for the purposes of this report,
                    numbers are rounded to the nearest hundred.




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                    Figure 4: Number of Noncitizen Family Unit Members Whom Border Patrol
                    Processed with Parole plus ATD, by Sector and Month (July 2021 through February
                    2022)




                    Notes: Data are as of March 21, 2022.
                    U.S. Customs and Border Protection (CBP) and U.S. Immigration and Customs Enforcement policy
                    and guidance documents generally define a family unit as a noncitizen child under the age of 18 who
                    has no lawful immigration status in the U.S. and is accompanied by a noncitizen parent or legal
                    guardian who is able to provide care and physical custody.
                    CBP may grant humanitarian parole to noncitizens on a case-by-case basis for certain reasons, such
                    as significant public benefit or urgent humanitarian reasons. In this context, parole generally refers to
                    permitting an individual to temporarily enter or remain in the U.S. for a limited purpose, such as to
                    receive medical treatment. 8 U.S.C. § 1182(d)(5). According to Border Patrol officials, Border Patrol
                    data include all family unit members released under humanitarian parole during this time period. This
                    may include family unit members not processed under parole plus ATD who were granted parole for a
                    limited purpose such as to receive medical treatment. According to Border Patrol officials, such
                    situations are rare.
                    Data for July 2021 includes five individuals.
                    a




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                    Border Patrol data indicate that sectors began decreasing the frequency
                    with which they used NTRs with the implementation of parole plus ATD in
                    late summer 2021. During a 3-month period when certain Border Patrol
                    sectors had authorization to use both NTRs and parole plus ATD, the
                    number of family unit members processed with NTRs decreased from
                    about 33,000 in July 2021 to about 2,000 in September 2021. 50 Border
                    Patrol officials stated that being able to transition from NTRs to parole
                    plus ATD was dependent, in part, on the availability of ATD technologies
                    at Border Patrol facilities.

                    Further, ICE implemented an appointment schedule system in September
                    2021, known as the Field Office Appointment Scheduler, to facilitate
                    family units’ reporting to ERO field offices following their release from
                    Border Patrol custody. The web-based, bilingual, and smartphone-
                    compatible system allows them to schedule their required check-in
                    appointments at field offices online as they await immigration
                    proceedings. Previously, appointments had to be made via phone or in
                    person. Through this online system, family units can create an
                    appointment online and eliminate the need to wait on the phone or travel
                    to a field office to make an appointment on a walk-in basis. According to
                    ERO officials, the online appointment system allows field offices to better
                    track family units’ reporting by field office location.

                    In addition to taking steps aimed at improving tracking and monitoring of
                    family units processed without a Notice to Appear, Border Patrol data
                    indicate that agents consistently collected a large proportion of complete
                    destination addresses for those processed under parole plus ATD.
                    Specifically, Border Patrol data indicate that agents collected complete
                    address information for about 94 percent of family unit members
                    processed under parole plus ATD during the 8-month period from July
                    2021 through February 2022 (see fig. 5). 51 Additionally, individual Border




                    50On September 1, 2021, Border Patrol limited the issuance of NTRs to the Del Rio sector
                    and instructed other sectors—such as Rio Grande Valley and Yuma—to utilize parole plus
                    ATD, as appropriate. On October 15, 2021, Border Patrol further instructed all sectors via
                    email notice to cease using NTRs.
                    51Five U.S. states—Florida, Texas, New York, California, and New Jersey—represent the
                    destinations of more than half of the noncitizens whom Border Patrol processed under
                    parole plus ATD from July 2021 through February 2022, according to Border Patrol data
                    (see appendix I for more information).




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                                        Patrol sectors consistently collected largely complete destination address
                                        for the vast majority of parole plus ATD cases. 52

Figure 5: Percentage of Noncitizen Family Unit Members Border Patrol Processed with Parole plus ATD and Collected a
Complete Intended Destination Address, by Sector and Month (July 2021 through February 2022)




                                        Notes: Data are as of March 21, 2022.
                                        U.S. Customs and Border Protection (CBP) and U.S. Immigration and Customs Enforcement policy
                                        and guidance documents generally define a family unit as a noncitizen child under the age of 18 who
                                        has no lawful immigration status in the U.S. and is accompanied by a noncitizen parent or legal
                                        guardian who is able to provide care and physical custody.
                                        CBP may grant humanitarian parole to noncitizens on a case-by-case basis for certain reasons, such
                                        as significant public benefit or urgent humanitarian reasons. In this context, parole generally refers to
                                        permitting an individual to temporarily enter or remain in the U.S. for a limited purpose, such as to
                                        receive medical treatment. 8 U.S.C. § 1182(d)(5). According to Border Patrol officials, Border Patrol
                                        data include all family unit members released under humanitarian parole during this time period. This
                                        may include family unit members not processed under parole plus ATD who were granted parole for a



                                        52During the 8-month period from July 2021 through February 2022, the monthly
                                        percentage of complete destination addresses collected by individuals sectors ranged
                                        from 86 percent (Rio Grande Valley in September 2021) to 100 percent (Rio Grande
                                        Valley in February 2022).




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                            limited purpose such as to receive medical treatment. According to Border Patrol officials, such
                            situations are rare.
                            Complete destination addresses must be a valid mailing address and include a street, city, and state,
                            according to Border Patrol officials. Del Rio, Rio Grande Valley, and Yuma comprised 98 percent of
                            family unit members processed under parole plus ATD cases. If the month is missing a Border Patrol
                            sector (e.g., July 2021), that sector did not process any individuals under parole plus ATD during that
                            month.
                            a
                             Data for July 2021 includes five individuals for whom Border Patrol collected a complete destination
                            address.
                            b
                             The “total” line shows the percentage of complete addresses collected from all family unit members
                            processed under parole plus ATD in the Del Rio, Rio Grande Valley, and Yuma sectors.


                            In addition to collecting better address information, Border Patrol and ICE
                            took steps to improve their sharing of data. Specifically, Border Patrol
                            gave ERO access to more data on those processed with an NTR or under
                            parole plus ATD within CBP’s Unified Immigration Portal. 53 In the summer
                            of 2021, Border Patrol developed a dashboard within the portal that
                            provided ERO with access to summary information on those processed
                            with NTRs and under parole plus ATD. ERO headquarters officials told us
                            that they used Border Patrol’s data in the portal to create their own
                            internal dashboard to monitor ERO’s efforts to process family units and
                            issue Notices to Appear. As part of its dashboard, ERO tracks various
                            information such as the expected field office check-in location, the actual
                            field office check-in location, and the type of technology issued for those
                            processed under parole plus ATD.

DHS and Its Components      DHS, CBP, and ICE have each either developed or are developing
Have Efforts Underway to    contingency plans to respond to surges of apprehensions at the
                            southwest border. Generally, these plans direct DHS and its components
Respond to Future Migrant
                            to take actions during migration surges to help ensure noncitizens are
Surges at the Southwest     processed quickly, safely, and humanely. As of March 2022, both DHS
Border                      and ICE’s plans were finalized and CBP’s plan was not in force, as
                            discussed in more detail below. In addition to these plans, DHS and its
                            components have efforts underway to help improve the efficiency of
                            processing noncitizens at the border.

                            DHS’s Southwest Border Mass Irregular Migration Contingency
                            Plan. In February 2022, DHS finalized a plan to respond to potential
                            significant increases in migration at the southwest border and to
                            coordinate among federal partners to create capacity and capability to

                            53The portal, operated by CBP, provides agencies involved in the immigration process a
                            means to view and access certain information from each of the respective agencies from a
                            single portal in near real time (as the information is entered into the source systems).




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                    process migrants. The plan specifies four phases of action and
                    establishes triggers for each phase. 54 For example, during phase 1, DHS
                    is to conduct a gap analysis to assess CBP and ICE capacity to handle
                    an influx of migrants at the border. During phase 2, DHS is to take steps
                    to address critical shortfalls and capability gaps. For example, according
                    to the plan, DHS may utilize support agreements among federal partners
                    to expand CBP and ICE’s ability to transport, shelter, and process
                    noncitizens. The plan states that DHS will conduct after-action reviews to
                    identify operational deficiencies and lessons learned and to update
                    actions as needed to incorporate identified best practices for responding
                    to future surge operations. As of June 2022, DHS officials stated the
                    department had experienced migration levels that have triggered certain
                    elements of the contingency plan. For example, DHS established the
                    Southwest Border Coordination Center to facilitate coordination among
                    DHS personnel and facilities regarding transportation and medical needs
                    as well as requesting assistance from non-DHS entities.

                    CBP’s Integrated Southwest Border Mass Irregular Migration
                    Contingency Plan. In 2021, CBP began developing a plan to prevent,
                    prepare for, respond to, and recover from mass irregular migration surges
                    along the southwest border. According to DHS’s contingency plan, CBP’s
                    plan supplements DHS’s and will provide specific details on tactical
                    operations. For example, DHS’s plan notes that CBP is to establish an
                    emergency operation center, establish support agreements with external
                    partners, identify shortfalls in funding and resources, and request support
                    from external partners such as ICE. As of June 2022, CBP had not
                    finalized its plan.

                    ERO’s Migration Event Plan. In July 2021, ERO finalized a plan that
                    provides guidance to its components on how to support an irregular
                    migration event. Similar to both DHS and CBP’s plan, ERO’s plan
                    includes four phases and each phase includes specific goals. 55 For
                    example, during phase 1, ERO is to develop response procedures and
                    coordinate contracts and establish relationships with other agencies and
                    nongovernmental organizations. Phase 2 includes plans to identify
                    resource requirements and mobilize ERO personnel. Phase 3 establishes

                    54The phases are: (1) initial influx, (2) major influx, (3) mass irregular migration, and (4)
                    return to steady state. Each phase is triggered when migration levels reach capacity. For
                    example, phase one is triggered when migration levels at all southwest border facilities
                    are greater than 75 percent of pre-COVID capacity.
                    55The phases are: (1) steady state, (2) alert and mobilization, (3) response, and (4)
                    recovery.




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                    processes for ERO staff to assist Border Patrol in processing migrants at
                    the border. Lastly, phase 4 includes guidance and requirements for
                    developing after action reports, as well as corrective action plans. As of
                    June 2022, a senior ERO official stated that ERO had activated certain
                    phases of the plan in locations along the southwest border when
                    conditions on the ground met the plan’s requirements. For example, the
                    officials stated that ERO established an action team that reports to the
                    director. ERO officials noted that they intend to begin updating the plan in
                    fiscal year 2023.

                    In addition to the above contingency plans, DHS and its components
                    have efforts underway to improve the efficiency of processing noncitizens
                    at the border. DHS’s contingency plan states that although DHS utilizes a
                    variety of traditional options to remove noncitizens from the country, it will
                    be necessary for DHS components to use certain processes such as
                    parole plus ATD in the event of significant surges in apprehensions.
                    Border Patrol officials stated that efforts to streamline administrative
                    processes are critical to sectors’ ability to release individuals with Notices
                    to Appear under Title 8 processes. For example:

                    •   CBP’s Review and Approval Portal routes electronic files, such as
                        immigration processing forms, among Border Patrol staff for review.
                        According to DHS, this portal is designed to provide a digital workflow
                        among agents and their supervisors to finalize processing forms. For
                        example, the portal provides agents the ability to submit electronic
                        forms to their supervisors for review. Furthermore, the portal provides
                        supervisors the ability to review and comment on these forms and
                        send them back to the processing agent to update and subsequently
                        re-submit for final signature. According to Border Patrol officials, the
                        portal was launched in in one sector in August 2021 and was
                        implemented in all sectors as of June 2022.
                    •   CBP and ICE have digitized certain administrative processes at the
                        border. Historically, CBP and ICE have relied on a manual paper and
                        email-based process to transfer custody of individuals. According to
                        DHS, this is a time-intensive process that requires agents to
                        consolidate information from a variety of systems. To help streamline
                        the transfer of individuals from CBP custody into ICE custody, ICE
                        created the Case Acceptance System, which allows completed
                        records to be transmitted electronically from CBP to ICE. According to
                        DHS, this will expedite ICE’s acceptance of records for individuals




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                                  transferred from CBP. 56 The system was implemented at all nine
                                  Border Patrol sectors along the southwest border in April 2021,
                                  according to ERO officials.


ICE Has Efforts
Underway to Initiate
Removal Proceedings
for Family Unit
Members Processed
with NTRs or Under
Parole plus ATD
The Majority of Family Unit   About three-quarters of family unit members whom Border Patrol
Members Processed with        processed with an NTR or under parole plus ATD from March 2021
                              through February 2022 have reported to ICE as of March 1, 2022.
an NTR or under Parole
                              Specifically, approximately 78 percent (or, about 72,500) of family unit
plus ATD Have Reported        members whom Border Patrol processed with an NTR (from March
to ICE                        through November 2021) had reported to ICE. About 75 percent (or,
                              about 67,100) of family unit members processed under parole plus ATD
                              (from July 2021 through February 2022) had reported to ICE (see fig. 6
                              below). 57




                              56According to DHS, ICE’s Case Acceptance System is integrated with CBP’s Unified
                              Immigration Portal to view forms and information relevant for transfer. CBP users can
                              upload relevant forms into the system for review by ICE before ICE accepts transfer and
                              custody of an individual.
                              57ICE officials stated that ICE considers a family unit to have reported if at least one
                              member of the family unit made contact with an ERO field office either in person or via
                              phone, or if a family unit member has an appointment in ICE’s online Field Office
                              Appointment Scheduler. Reporting to an ERO field office does not necessarily mean that
                              ERO issues family unit members a Notice to Appear and places them into removal
                              proceedings.




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                    Figure 6: Noncitizen Family Unit Members Who Reported to ICE with an NTR or
                    under Parole plus ATD




                    Notes: Data are as of March 1, 2022.
                    U.S. Customs and Border Protection (CBP) and ICE policy and guidance documents generally define
                    a family unit as a noncitizen child under the age of 18 who has no lawful immigration status in the
                    U.S. and is accompanied by a noncitizen parent or legal guardian who is able to provide care and
                    physical custody.
                    CBP may grant humanitarian parole to noncitizens on a case-by-case basis for certain reasons, such
                    as significant public benefit or urgent humanitarian reasons. In this context, parole generally refers to
                    permitting an individual to temporarily enter or remain in the U.S. for a limited purpose, such as to
                    receive medical treatment. 8 U.S.C. § 1182(d)(5). According to U.S. Border Patrol officials, Border
                    Patrol data include all family unit members released under humanitarian parole during this time
                    period. This may include family unit members not processed under parole plus ATD who were
                    granted parole for a limited purpose such as to receive medical treatment. According to Border Patrol
                    officials, such situations are rare. For the purposes of this report, numbers are rounded to the nearest
                    hundred.
                    Border Patrol initiated the NTR process in March 2021 and terminated NTRs in November 2021.
                    Border Patrol initiated the parole plus ATD process in July 2021 and has continued to authorize it
                    under certain conditions as of July 2022. This figure includes individuals who were processed under
                    either process through February 2022. Individuals processed under parole plus ATD after February
                    13, 2022 would still be within the required 15-day reporting time period.


                    Family unit members processed with NTRs have reported to ICE at a
                    slightly higher rate than those processed under parole plus ATD, as of
                    March 1, 2022. According to senior ERO officials, generally, family unit
                    members processed with an NTR have had more time to report to ICE
                    compared to those processed under parole plus ATD. In addition, since
                    Border Patrol terminated the use of NTRs in November 2021, certain
                    sectors have continued to process thousands of additional family unit
                    members under parole plus ATD. This has added to the total universe of
                    individuals needing to report to ICE. ERO officials also noted that ICE’s
                    contractor continues to monitor heads of household for those processed
                    under parole plus ATD and that field offices continue to schedule future
                    appointments.




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ICE Initiated Removal        ICE issued a Notice to Appear and initiated removal proceedings for
Proceedings for About Half   about 54 percent of family unit members whom Border Patrol processed
                             from March 2021 through February 2022 with an NTR or under parole
of Family Unit Members
                             plus ATD, as of March 20, 2022. Specifically, ICE data indicate that it
Processed with an NTR or     issued Notices to Appear for about 52,500 family unit members (about 56
under Parole plus ATD        percent) whom Border Patrol processed with an NTR (from March
                             through November 2021). Similarly, ICE had issued a Notice to Appear
                             for about 47,600 family unit members (about 52 percent) processed under
                             parole plus ATD (from August 2021 through February 2022) (see fig. 7). 58

                             Figure 7: Noncitizen Family Unit Members Processed with a NTR or under Parole
                             plus ATD for Whom ICE Has Initiated Removal Proceedings




                             Notes: Data are as of March 20, 2022.
                             U.S. Customs and Border Protection (CBP) and U.S. Immigration and Customs Enforcement policy
                             and guidance documents generally define a family unit as a noncitizen child under the age of 18 who
                             has no lawful immigration status in the U.S. and is accompanied by a noncitizen parent or legal
                             guardian who is able to provide care and physical custody. This figure includes individuals who
                             Border Patrol processed through February 2022.
                             CBP may grant humanitarian parole to noncitizens on a case-by-case basis for certain reasons, such
                             as significant public benefit or urgent humanitarian reasons. In this context, parole generally refers to
                             permitting an individual to temporarily enter or remain in the U.S. for a limited purpose, such as to
                             receive medical treatment. 8 U.S.C. § 1182(d)(5). According to U.S. Border Patrol officials, Border
                             Patrol data include all family unit members released under humanitarian parole during this time
                             period. This may include family unit members not processed under parole plus ATD who were
                             granted parole for a limited purpose such as to receive medical treatment. According to Border Patrol
                             officials, such situations are rare. For the purposes of this report, numbers are rounded to the nearest
                             hundred.




                             58According to Border Patrol officials, Border Patrol data include all family unit members
                             released under humanitarian parole during this time period. This may include family unit
                             members not processed under parole plus ATD who were granted parole for a limited
                             purpose, such as to allow a member of the family unit to receive medical treatment at a
                             local hospital. According to Border Patrol officials, such situations are rare. As a result, for
                             the purposes of this report, numbers are rounded to the nearest hundred.




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ICE Faces Challenges       As ICE takes steps to initiate removal proceedings for family unit
                           members whom Border Patrol processed with an NTR or under parole
Initiating Removal         plus ATD, it has faced challenges in doing so. In particular, ERO field
Proceedings for Family     offices have faced resource constraints and other challenges addressing
Unit Members Issued        this additional workload. Further, ICE has been unable to locate some
NTRs or Processed under    family units who have not reported since being processed by Border
                           Patrol.
Parole plus ATD, but Has
Efforts Underway to Help   Processing family unit members who report to ICE. According to
Address Them               senior ERO headquarters officials, as well as officials from all of the five
                           field offices we interviewed, ICE faces significant challenges processing
                           family unit members in a timely manner due to resource constraints. First,
                           ICE faces challenges addressing the unpredictable nature of the workload
                           associated with processing such family units. If family units appear on a
                           walk-in basis at an ERO field office without making an appointment in
                           advance, ERO officials stated it is extremely difficult to complete their
                           administrative processing and issue them a Notice to Appear that same
                           day. For example, officials at one field office said that on certain days,
                           300 to 500 individuals may report in person to the field office, most of
                           whom do not have appointments. In such cases, ERO officials stated that
                           the field offices may record that a family unit has reported to the field
                           office for purposes of meeting the terms of their parole, and then
                           schedule them for a future appointment to complete processing and issue
                           a Notice to Appear within the same day. In other cases, officials said the
                           family may leave the queue at the field office before they interact with an
                           ERO official and thus officials may not be able to record the family unit as
                           having reported.

                           As of March 21, 2022, ICE data indicate that ICE had scheduled about
                           19,700 appointments for family units to appear at an ERO field office to
                           complete their processing through February 2022 (see fig. 8 and
                           appendix I for more information). In addition, ICE had scheduled an
                           additional approximately 15,100 appointments from March 2022 through
                           March 2024.




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Figure 8: In-Person Appointments Scheduled with ICE for Noncitizen Family Units Processed with NTRs or under Parole plus
ATD, by Month




                                        Notes: Data are as of March 21, 2022.
                                        U.S. Customs and Border Protection (CBP) and U.S. Immigration and Customs Enforcement policy
                                        and guidance documents generally define a family unit as a noncitizen child under the age of 18 who
                                        has no lawful immigration status in the U.S. and is accompanied by a noncitizen parent or legal
                                        guardian who is able to provide care and physical custody. This figure includes individuals who were
                                        processed through February 2022.
                                        CBP may grant humanitarian parole to noncitizens on a case-by-case basis for certain reasons, such
                                        as significant public benefit or urgent humanitarian reasons. In this context, parole generally refers to
                                        permitting an individual to temporarily enter or remain in the U.S. for a limited purpose, such as to
                                        receive medical treatment. 8 U.S.C. § 1182(d)(5). According to U.S. Border Patrol officials, Border
                                        Patrol data include all family unit members released under humanitarian parole during this time
                                        period. This may include family unit members not processed under parole plus ATD who were
                                        granted parole for a limited purpose such as to receive medical treatment. According to Border Patrol
                                        officials, such situations are rare.


                                        Second, officials at ERO headquarters and at each of the five field offices
                                        we spoke with said they were concerned about ERO’s lack of personnel
                                        necessary to address this workload—a responsibility not typically
                                        assigned to ICE. Officials said completing the administrative processes to
                                        issue Notices to Appear to family unit members at an ERO field office can
                                        take multiple hours per family. This limits the number of family units that



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                    ERO can schedule and process into removal proceedings each day. ERO
                    field offices must also balance their other daily roles and responsibilities
                    such as coordinating the detention and removal of other individuals. ERO
                    officials at one field office said that their office only has capacity to
                    process up to 100 people in person per day. Officials at another field
                    office told us their office has the capacity to complete 65 appointments
                    per week for NTR or parole plus ATD cases.

                    Third, ERO reported facing challenges processing family unit members
                    due to space constraints within its field offices. Most field offices are not
                    equipped to handle several hundred visitors per day in a large-scale
                    processing operation, according to ERO officials. Officials said that space
                    in these offices is limited and that ERO’s normal daily business functions
                    must also occur while processing NTR and parole plus ATD cases, which
                    has created problems with traffic, long lines outside of buildings, and
                    overcrowding (see fig. 9). For example, ERO officials stated that one of its
                    field offices has a waiting room that can accommodate only six people.
                    Further, they stated that field offices are generally designed to serve
                    single adults and not families. In addition, the COVID-19 pandemic has
                    placed limitations on the number of people who can safely gather in
                    indoor spaces at one time. ERO headquarters officials told us that it is up
                    to each field office to determine how many NTR and parole plus ATD
                    cases it can accommodate per month, and to use the ICE online schedule
                    system to create appointments, as is feasible.




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Figure 9: Public Queue Outside of ICE’s ERO Baltimore Field Office, September 9, 2021




                                         To help address some of these challenges, in November 2021, February
                                         2022, and June 2022, ICE implemented a nationwide enforcement
                                         operation to enter family unit members into removal proceedings by
                                         mailing Notices to Appear to those for whom ICE had a valid address or
                                         serving Notices to Appear at a residence. If officers were unsure of an
                                         address’s validity, they were to attempt to contact the individuals by
                                         phone (if a phone number was available). As of March 20, 2022, ICE data
                                         indicate that ICE had mailed about 48,500 Notices to Appear to family
                                         unit members (about 21,700 processed with an NTR and about 26,800
                                         enrolled in parole plus ATD).

                                         According to ERO officials, field offices received authorization to work
                                         overtime on evenings and weekends to undertake the first two phases of
                                         this operation. ERO officials stated they also utilized staff from other ICE
                                         offices, such as Homeland Security Investigations, to assist in processing
                                         the cases remotely and mailing the Notices to Appear. In June 2022, ICE
                                         completed a third phase of this operation, in which officers issued
                                         charging documents (such as Notices to Appear) in person to 618



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                    individuals at their places of residence. This phase focused on individuals
                    who had not reported to ICE as required after being processed by Border
                    Patrol with an NTR or under parole plus ATD.

                    However, ERO officials also stated that they are concerned about the
                    continuing workload their field offices will experience given the large
                    numbers of family units whom Border Patrol has released into the country
                    under parole plus ATD in the spring of 2022. Specifically, Border Patrol
                    reported that agents processed about 14,600 family unit members under
                    this process in March 2022, nearly 16,600 in April 2022, and almost
                    25,900 in May 2022. Moreover, Border Patrol officials stated that in March
                    2022, Border Patrol began processing single adults under parole plus
                    ATD. Specifically, according to CBP, Border Patrol processed nearly
                    8,800 single adults in March 2022, about 23,400 in April 2022, and nearly
                    25,700 in May 2022.

                    In light of continuing high levels of migration along the southwest border,
                    on July 18, 2022, the CBP Commissioner and ICE Acting Director issued
                    a memorandum updating the policy on the use of parole plus ATD.
                    Specifically, the memorandum allows Border Patrol to continue
                    processing noncitizens (family unit members and single adults) under
                    parole plus ATD. The policy states that Border Patrol should use parole
                    plus ATD sparingly and on a case-by-case basis when sectors meet
                    certain conditions and obtain necessary authorization from headquarters.
                    It is not meant to be a primary means by which agents process
                    noncitizens, according to the memorandum. 59 In addition, the
                    memorandum states that Border Patrol agents must collect and document
                    a physical address from each noncitizen processed under parole plus
                    ATD. CBP must also report daily to DHS headquarters and ICE detailing
                    the number of noncitizens processed under parole plus ATD to help
                    identify the need for any operational changes. Further, CBP’s
                    Commissioner or Deputy Commissioner is to reassess the use of parole
                    plus ATD on a weekly basis, according to the memorandum.

                    In addition, the memorandum directs CBP and ICE to work jointly to
                    streamline and complete the processing of charging documents such as

                    59As  in the previous iteration of parole plus ATD policy, certain groups, such as
                    unaccompanied children, are ineligible. In addition, CBP is to conduct biometric identity
                    checks and thoroughly evaluate any potential national security and public safety concerns
                    prior to processing individuals under parole plus ATD. Individuals whom Border Patrol
                    determines pose a national security or public safety risk are also ineligible. ICE and CBP,
                    Policy on the Use of Parole Plus Alternatives to Detention to Decompress Border
                    Locations (July 18, 2022).




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                         Notices to Appear for those processed under parole plus ATD.
                         Specifically, the memorandum states that each agency will be responsible
                         for completing at least 50 percent of the total workload (such as initiating
                         removal proceedings) associated with those individuals processed under
                         parole plus ATD. According to ERO officials, this is a key change, which
                         should help reduce the strain on ICE personnel and resources.

                         Family unit members who have not reported to ICE. ERO officials
                         stated that family unit members who do not report at all are to be referred
                         to the Fugitive Operation division for further enforcement action, as
                         appropriate. Prior to being struck down by a federal court in June 2022,
                         DHS’s Guidelines for the Enforcement of Civil Immigration Law focused
                         enforcement efforts on the apprehension and removal of noncitizens who
                         were a threat to national security, public safety, and border security. 60 As
                         we have previously reported, DHS’s immigration enforcement agencies
                         do not have the operational capability to apprehend, detain, and remove
                         every individual who is unlawfully present in the U.S. 61 ICE officers are to
                         make discretionary enforcement decisions on a case-by-case basis to
                         focus on the greatest threats to homeland security, according to officials.
                         ERO officials stated that, as resources allow and based on the facts and
                         circumstances of each case, they will continue to take steps to locate
                         family unit members who have not reported as instructed and for whom
                         ICE does not have valid addresses.

                         We provided a draft of this report to DHS for review and comment. The
Agency Comments          department did not provide formal written comments, but did provide
                         technical comments on the draft, which we incorporated as appropriate.

                         As agreed with your offices, unless you publicly announce the contents of
                         this report earlier, we plan no further distribution until 30 days from the
                         report date. At that time, we will send copies to the appropriate
                         congressional committees, the Secretary of Homeland Security, and other

                         60DHS,   Guidelines for the Enforcement of Civil Immigration Law (September 30, 2021).
                         The DHS Guidelines have been vacated by a federal court. See Texas v. United States, --
                         - F.Supp. 3d ---, 2022 WL 2109204 (S.D. Tex. June 10, 2022), cert. granted, --- S. Ct. ---,
                         2022 WL 2841804 (2022) (Mem.). Accordingly, effective June 25, 2022, ICE ceased to
                         follow the DHS guidelines. The Southern District of Texas’s final judgment vacating the
                         DHS guidelines is pending before the U.S. Supreme Court with argument set for
                         December 2022. United States v. Texas, No. 22-58 (July 21, 2022).
                         61GAO, Immigration: Information on Deferred Action for Childhood Arrivals,
                         GAO-22-104734 (Washington, D.C.: Jan. 12, 2022), and Immigration Enforcement:
                         Arrests, Detentions and Removals, and Issued Related to Selected Populations,
                         GAO-20-36 (Washington, D.C.: Dec. 5, 2019).




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                    interested parties. In addition, the report is available at no charge on the
                    GAO website at http://www.gao.gov.

                    If you or your staff have any questions, please contact me at (202) 512-
                    8777 or gamblerr@gao.gov. Contact points for our Offices of
                    Congressional Relations and Public Affairs may be found on the last page
                    of this report. GAO staff who made significant contributions to this report
                    are listed in appendix II.




                    Rebecca Gambler
                    Director, Homeland Security and Justice




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Noncitizen Family Units Processed with
Notices to Report and Parole
                            This appendix provides additional information on Notices to Report (NTR)
                            and parole plus Alternatives to Detention (ATD), including information on
                            noncitizen family unit members’ country of citizenship, their self-reported
                            intended destinations within the U.S., and the extent to which they
                            reported to U.S. Immigration and Customs Enforcement (ICE). The
                            appendix also includes information on ICE’s efforts to enter family unit
                            members into removal proceedings.

Citizenship Data            When apprehending and processing noncitizens, U.S. Border Patrol
                            agents record certain biographic information, including their country of
                            citizenship. Tables 1 and 2 show the country of citizenship for family unit
                            members whom Border Patrol apprehended along the southwest border
                            and processed with a NTR or under parole plus ATD from March 1, 2021
                            through February 28, 2022.

                            Table 1: Noncitizen Family Unit Members Whom Border Patrol Processed with a
                            NTR, by Country of Citizenship (March 2021 through November 2021)

                                                                                          Number of family unit members processed
                             Country of citizenship                                                   with a Notice to Report (NTR)
                             Honduras                                                                                       38,585
                             Guatemala                                                                                      19,368
                             El Salvador                                                                                     8,904
                             Ecuador                                                                                         8,465
                             Nicaragua                                                                                       5,560
                             Haiti                                                                                           4,987
                             Venezuela                                                                                       3,946
                             Chile                                                                                           1,348
                             Cuba                                                                                              633
                             Brazil                                                                                            542
                             Romania                                                                                           384
                             Colombia                                                                                          268
                             Mexico                                                                                            252
                             Peru                                                                                              198
                             Other                                                                                             496
                             Total                                                                                          93,909
                            Source: GAO analysis of U.S. Border Patrol data. | GAO-22-105456

                            Notes: Data are as of March 18, 2022. Data represent all family unit members whom Border Patrol
                            processed with a NTR from March 1, 2021 through November 2, 2021. Countries with fewer than 100
                            such individuals are included in the “Other” category.
                            U.S. Customs and Border Protection and U.S. Immigration and Customs Enforcement policy and
                            guidance documents generally define a family unit as a noncitizen child under the age of 18 who has




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                    no lawful immigration status in the U.S. and is accompanied by a noncitizen parent or legal guardian
                    who is able to provide care and physical custody.



                    Table 2: Noncitizen Family Unit Members Whom Border Patrol Processed under
                    Parole plus ATD, by Country of Citizenship (July 2021 through February 2022)

                                                                        Number of family unit members processed under
                     Country of citizenship                                 parole plus Alternatives to Detention (ATD)
                     Venezuela                                                                                       26,549
                     Honduras                                                                                        10,922
                     Nicaragua                                                                                        7,901
                     Colombia                                                                                         6,916
                     Cuba                                                                                             6,719
                     Haiti                                                                                            5,825
                     Brazil                                                                                           5,633
                     Ecuador                                                                                          5,427
                     El Salvador                                                                                      4,180
                     Guatemala                                                                                        3,560
                     Chile                                                                                            2,108
                     Peru                                                                                             1,457
                     India                                                                                              775
                     Romania                                                                                            565
                     Panama                                                                                             289
                     Angola                                                                                             273
                     Mexico                                                                                             249
                     Uzbekistan                                                                                         235
                     Russia                                                                                             184
                     Uruguay                                                                                            130
                     Democratic Republic of the Congo                                                                   122
                     Other                                                                                            1,074
                     Total                                                                                           91,093
                    Source: GAO analysis of U.S. Border Patrol data. | GAO-22-105456

                    Notes: Data are as of March 18, 2022. Data represent all family unit members whom Border Patrol
                    processed under parole plus ATD from July 1, 2021 through February 28, 2022. Nationalities with
                    fewer than 100 noncitizens are included in the “Other” category.
                    U.S. Customs and Border Protection (CBP) and U.S. Immigration and Customs Enforcement policy
                    and guidance documents generally define a family unit as a noncitizen child under the age of 18 who
                    has no lawful immigration status in the U.S. and is accompanied by a noncitizen parent or legal
                    guardian who is able to provide care and physical custody.
                    CBP may grant humanitarian parole to noncitizens on a case-by-case basis for certain reasons, such
                    as significant public benefit or urgent humanitarian reasons. In this context, parole generally refers to
                    permitting an individual to temporarily enter or remain in the U.S. for a limited purpose, such as to
                    receive medical treatment. 8 U.S.C. § 1182(d)(5). According to Border Patrol officials, Border Patrol
                    data include all family unit members released under humanitarian parole during this time period. This




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                            may include family unit members not processed under parole plus ATD who were granted parole for a
                            limited purpose such as to receive medical treatment. According to Border Patrol officials, such
                            situations are rare.


Intended Destination Data   According to Border Patrol guidance, agents are to record information
                            about noncitizens’ self-reported intended destination address within the
                            U.S. These officials said that noncitizens are not always willing or able to
                            provide a destination address to Border Patrol agents. Border Patrol
                            instructed agents to obtain, at a minimum, a destination U.S. state.
                            Figures 10 and 11 show the states identified by apprehended family unit
                            members whom Border Patrol processed with an NTR or under parole
                            plus ATD from March 1, 2021 through February 28, 2022.




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Figure 10: States Identified as Intended Destination Address by Noncitizen Family Unit Members Processed with a NTR from
March 2021 through February 2022




                                        Notes: Data are as of March 18, 2022. Data represent all family unit members whom Border Patrol
                                        processed with a NTR from March 1, 2021 through February 28, 2022. This figure does not include
                                        about 17,000 family unit members who did not provide a destination state to Border Patrol agents.
                                        U.S. Customs and Border Protection and U.S. Immigration and Customs Enforcement policy and
                                        guidance documents generally define a family unit as a noncitizen child under the age of 18 who has
                                        no lawful immigration status in the U.S. and is accompanied by a noncitizen parent or legal guardian
                                        who is able to provide care and physical custody.




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Figure 11: States Identified as Intended Destination Address by Noncitizen Family Unit Members Processed under Parole plus
ATD from July 2021 through February 2022




                                        Notes: Data are as of March 20, 2022. Data represent all family unit members whom Border Patrol
                                        processed under parole plus ATD from July 1, 2021 through February 28, 2022. This figure does not
                                        include about 900 family unit members who did not provide a destination state to Border Patrol
                                        agents.
                                        U.S. Customs and Border Protection (CBP) and U.S. Immigration and Customs Enforcement policy
                                        and guidance documents generally define a family unit as a noncitizen child under the age of 18 who
                                        has no lawful immigration status in the U.S. and is accompanied by a noncitizen parent or legal
                                        guardian who is able to provide care and physical custody.
                                        CBP may grant humanitarian parole to noncitizens on a case-by-case basis for certain reasons, such
                                        as significant public benefit or urgent humanitarian reasons. In this context, parole generally refers to
                                        permitting an individual to temporarily enter or remain in the U.S. for a limited purpose, such as to
                                        receive medical treatment. 8 U.S.C. § 1182(d)(5). According to Border Patrol officials, Border Patrol
                                        data include all family unit members released under humanitarian parole during this time period. This




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                           may include family unit members not processed under parole plus ATD who were granted parole for a
                           limited purpose such as to receive medical treatment. According to Border Patrol officials, such
                           situations are rare.


Data on ICE’s              As described earlier in this report, when Border Patrol agents process
Enforcement Efforts        family unit members with an NTR or under parole plus ATD, they
                           provided instructions to report to an Enforcement and Removals
                           Operations (ERO) field office within a certain number of days. Agents
                           were to identify the nearest ERO field office based on the family unit’s
                           stated destination address. For example, those who intended to travel to
                           Miami, Florida, would be instructed to report to the Miami ERO office.
                           Figures 12 and 13 show the number of family unit members who reported
                           to each ERO field office as of March 1, 2022.




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Figure 12: Number of Noncitizen Family Unit Members Processed with an NTR Who Reported to ICE as of March 1, 2022, by
ERO Field Office




                                       Notes: Data represent all family unit members whom U.S. Border Patrol processed with an NTR from
                                       March 1, 2021 through February 28, 2022 and who reported to an ERO field office as of March 1,
                                       2022. In addition, 355 family unit members reported to the ERO field office in Harlingen, Texas, which
                                       ICE established in July 2021 during the course of our review, as of the same date.
                                       U.S. Customs and Border Protection and ICE policy and guidance documents generally define a
                                       family unit as a noncitizen child under the age of 18 who has no lawful immigration status in the U.S.
                                       and is accompanied by a noncitizen parent or legal guardian who is able to provide care and physical
                                       custody.
                                       ERO officials stated that ERO considers a family unit to have reported if at least one member of the
                                       family unit made contact with an ERO field office either in person or via phone, or if a family unit
                                       member has an appointment in ICE’s online Field Office Appointment Scheduler.




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Figure 13: Number of Noncitizen Family Unit Members Processed under Parole plus ATD Who Reported to ICE as of March 1,
2022, by ERO Field Office




                                       Notes: Data represent all family unit members whom Border Patrol processed under parole plus ATD
                                       from July 1, 2022 through February 28, 2022 and who reported to an ERO field office as of March 1,
                                       2022. In addition, 301 family unit members reported to the ERO field office in Harlingen, Texas, which
                                       ICE established in July 2021 during the course of our review, as of the same date.
                                       U.S. Customs and Border Protection (CBP) and ICE policy and guidance documents generally define
                                       a family unit as a noncitizen child under the age of 18 who has no lawful immigration status in the
                                       U.S. and is accompanied by a noncitizen parent or legal guardian who is able to provide care and
                                       physical custody.
                                       CBP may grant humanitarian parole to noncitizens on a case-by-case basis for certain reasons, such
                                       as significant public benefit or urgent humanitarian reasons. In this context, parole generally refers to
                                       permitting an individual to temporarily enter or remain in the U.S. for a limited purpose, such as to
                                       receive medical treatment. 8 U.S.C. § 1182(d)(5). According to U.S. Border Patrol officials, Border
                                       Patrol data include all family unit members released under humanitarian parole during this time
                                       period. This may include family unit members not processed under parole plus ATD who were




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                    granted parole for a limited purpose such as to receive medical treatment. According to Border Patrol
                    officials, such situations are rare.


                    ERO officials stated that ERO considers a family unit to have reported if
                    at least one member of the family unit made contact with an ERO field
                    office either in person or via phone, or if a family unit member has an
                    appointment in ICE’s online Field Office Appointment Scheduler.

                    Family units were also able to schedule appointments to report to an ERO
                    field office using ICE’s online Field Office Appointment Scheduler. Table 3
                    shows the number of appointments scheduled for those processed with
                    an NTR or under parole plus ATD, by ERO field office, from July 2021
                    through February 2022.




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Table 3: Appointments Scheduled for Noncitizen Family Units Processed with an NTR or under Parole plus ATD, by ERO Field
Office (July 2021 through February 2022)

 Enforcement and                     Number of appointments for family                            Number of appointments for family units
 Removal (ERO)                         units processed with a Notice to                        processed under parole plus Alternatives to
 field office                                            Report (NTR)                                                    Detention (ATD)                Total
 Atlanta                                                                            808                                                 481             1,289
 Baltimore                                                                          168                                                  52               220
 Boston                                                                             636                                                 525             1,161
 Buffalo                                                                              19                                                 55                74
 Chicago                                                                            764                                                 689             1,453
 Dallas                                                                             911                                               1,012             1,923
 Denver                                                                             113                                                  35               148
 Detroit                                                                            267                                                 235               502
 El Paso                                                                              31                                                 52                83
 Harlingen                                                                            11                                                 10                21
 Houston                                                                            686                                                 394             1,080
 Los Angeles                                                                        533                                                 412               945
 Miami                                                                              935                                               1,001             1,936
 Newark                                                                             713                                                 731             1,444
 New Orleans                                                                        846                                                 552             1,398
 New York City                                                                   1,237                                                  749             1,986
 Philadelphia                                                                       352                                                 119               471
 Phoenix                                                                              16                                                 33                49
 Seattle                                                                            159                                                  84               243
 San Francisco                                                                      398                                                 169               567
 Salt Lake City                                                                       70                                                199               269
 San Antonio                                                                        434                                                 526               960
 San Diego                                                                            47                                                 16                63
 Minneapolis-St. Paul                                                               374                                                 207               581
 Washington, D.C.                                                                   484                                                 375               859
 Total                                                                          11,012                                                8,713           19,725
Source: GAO analysis of U.S. Immigration and Customs Enforcement (ICE) data. | GAO-22-105456

                                                              Notes: Data represent appointments scheduled through February 2022 for family units (as of March
                                                              21, 2022) that U.S. Border Patrol processed with an NTR or under parole plus ATD from March 2021
                                                              through February 2022 to check in at an ERO field office.




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                                        U.S. Customs and Border Protection and ICE policy and guidance
                                        documents generally define a family unit as a noncitizen child under the
                                        age of 18 who has no lawful immigration status in the U.S. and is
                                        accompanied by a noncitizen parent or legal guardian who is able to
                                        provide care and physical custody.

                                        ICE has initiated removal proceedings for family units that Border Patrol
                                        processed with an NTR or under parole plus ATD by issuing them a
                                        Notice to Appear. Figures 14 and 15 show the number of Notices to
                                        Appear that ICE had issued as of March 20, 2022.

Figure 14: Number of Notices to Appear Issued by ICE as of March 20, 2022 for Noncitizen Family Unit Members Processed
with a NTR, by ERO Field Office




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                                        Notes: Data represent all family unit members whom U.S. Border Patrol processed with an NTR from
                                        March 2021 through November 2021 and who reported to an ERO field office. Date were current as
                                        of March 20, 2022. In addition, ERO’s Harlingen, Texas field office, which ICE established in July
                                        2021 during the course of our review, issued 660 Notices to Appear as of the same date.
                                        U.S. Customs and Border Protection and ICE policy and guidance documents generally define a
                                        family unit as a noncitizen child under the age of 18 who has no lawful immigration status in the U.S.
                                        and is accompanied by a noncitizen parent or legal guardian who is able to provide care and physical
                                        custody.



Figure 15: Number of Notices to Appear Issued by ICE as of March 20, 2022 for Noncitizen Family Unit Members Processed
under Parole plus ATD, by ERO Field Office




                                        Notes: Data represent all family unit members whom Border Patrol processed under parole plus ATD
                                        from July 1, 2022 through February 28, 2022. In addition, ERO’s Harlingen, Texas field office, which
                                        ICE established in July 2021 during the course of our review, issued 475 Notices to Appear as of the
                                        same date.




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                    Data are as of March 20, 2022. U.S. Customs and Border Protection (CBP) and ICE policy and
                    guidance documents generally define a family unit as a noncitizen child under the age of 18 who has
                    no lawful immigration status in the U.S. and is accompanied by a noncitizen parent or legal guardian
                    who is able to provide care and physical custody.
                    CBP may grant humanitarian parole to noncitizens on a case-by-case basis for certain reasons, such
                    as significant public benefit or urgent humanitarian reasons. In this context, parole generally refers to
                    permitting an individual to temporarily enter or remain in the U.S. for a limited purpose, such as to
                    receive medical treatment. 8 U.S.C. § 1182(d)(5). According to U.S. Border Patrol officials, Border
                    Patrol data include all family unit members released under humanitarian parole during this time
                    period. This may include family unit members not processed under parole plus ATD who were
                    granted parole for a limited purpose such as to receive medical treatment. According to Border Patrol
                    officials, such situations are rare.


                    Figure 16 shows the number of unique family units that Border Patrol
                    processed each month under parole plus ATD from July 2021 through
                    February 2022.

                    Figure 16: Number of Unique Family Units Processed under Parole plus ATD, by
                    Border Patrol Sector and Month (July 2021 through February 2022)




                    Notes: Data represent all family unit members whom Border Patrol processed under parole plus ATD
                    from July 1, 2022 through February 28, 2022, as of March 21, 2022.




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                    U.S. Customs and Border Protection (CBP) and U.S. Immigration and Customs Enforcement policy
                    and guidance documents generally define a family unit as a noncitizen child under the age of 18 who
                    has no lawful immigration status in the U.S. and is accompanied by a noncitizen parent or legal
                    guardian who is able to provide care and physical custody.
                    CBP may grant humanitarian parole to noncitizens on a case-by-case basis for certain reasons, such
                    as significant public benefit or urgent humanitarian reasons. In this context, parole generally refers to
                    permitting an individual to temporarily enter or remain in the U.S. for a limited purpose, such as to
                    allow an individual to receive medical treatment. 8 U.S.C. § 1182(d)(5). According to Border Patrol
                    officials, Border Patrol data include all family unit members released under humanitarian parole
                    during this time period. This may include family unit members not processed under parole plus ATD
                    who were granted parole for a limited purpose such as to receive medical treatment. According to
                    Border Patrol officials, such situations are rare.




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Appendix II: GAO Contact and Staff
                               Appendix II: GAO Contact and Staff
                               Acknowledgments



Acknowledgments

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                               contributions to this report.




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